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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 AMERICAN GENERAL LIFE
 INSURANCE COMPANY,

               Plaintiff,

        v.                                               C.A. No. 22-1092-GBW

 WILMINGTON TRUST,
 NATIONAL ASSOCIATION,

               Defendant.

 WILMINGTON TRUST,
 NATIONAL ASSOCIATION,

               Defendant/Counter-Plaintiff,

        v.

 AMERICAN GENERAL LIFE
 INSURANCE COMPANY,

               Plaintiff/Counter-Defendant.


      DEFENDANT/COUNTER-PLAINTIFF’S OPENING BRIEF IN SUPPORT OF
       MOTION FOR PARTIAL SUMMARY JUDGMENT ON COUNTERCLAIM



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        Defendant,    Wilmington     Trust,   N.A.,   as   Securities    Intermediary   (“Securities

 Intermediary”),1 by and through its counsel, submits this Motion for Partial Summary Judgment

 on Counts I and II of Securities Intermediary’s Counterclaim to the First Amended Complaint (the

 “Counterclaim”) filed by Plaintiff American General Life Insurance Company (“American

 General” or “Plaintiff”). Counts I and II of the Counterclaim assert claims for breach of contract

 based on American General’s breach of its payment obligations under two life insurance policies

 it issued. This Motion seeks partial judgment as to American General’s liability on Counts I and

 II because it is undisputed that American General did not pay the amounts it is contractually

 obligated to pay under the Policies.2

                                         INTRODUCTION

        Securities Intermediary (on behalf of Geronta) is the owner and beneficiary of two life

 insurance policies issued by American General, each having a death benefit of $5 million (the

 “Policies”). American General has refused to pay the death benefit contractually due under the

 Policies, claiming the Insured misstated his age on the policy applications and, as a result, its

 payment obligation is limited to the cash surrender value of each Policy. In other words,

 American General maintains it was required to pay only approximately $130,000 and $170,000,

 respectively, on each Policy, despite having collected more than $2.5 million in premium




 1
  At all times, Wilmington Trust, N.A. acts solely as the Securities Intermediary for the benefit of
 Geronta Funding (“Geronta”), a Delaware statutory trust, and does not act in its individual
 capacity. See, e.g., N.Y. U.C.C. § 8-102(a)(14)(ii).
 2
   While Securities Intermediary can demonstrate the approximate amount owed by American
 General on each Policy, see Argument section I.C, infra, American General has refused to produce
 basic policy information that would allow Securities Intermediary to arrive at an exact amount.
 For this reason, Securities Intermediary has been forced to move for partial summary judgment as
 to liability only.
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 payments for each Policy. Aside from being an absurd proposition, this violates both New Jersey

 law and the clear terms of the Policies.

        As required by New Jersey law, the Policies contain a provision—the misstatement-of-age

 provision—dictating what American General must pay in the event the Insured’s age was misstated

 (which Securities Intermediary assumes for purpose of this Motion only). This provision clearly

 states American General must pay the death benefit in an adjusted amount, which is calculated by

 following the formula set forth in the provision. The Court has already ruled as much: “[T]he

 Court agrees with Defendant that Plaintiff must calculate the adjusted death benefit for each Policy

 according to the terms of the Misstatement of Age provisions.” D.E. 47 at 8 (emphasis added).

 Under the formula of the misstatement-of-age provision, American General indisputably owes at

 least $ 3.9 million on each Policy.

        By disregarding the applicable formula and paying only the “cash surrender value” of each

 Policy, American General breached both Policies. Thus, Securities Intermediary is entitled to

 partial summary judgment on Counts I and II of the Counterclaim.

                                            BACKGROUND3

        Securities Intermediary is the owner and beneficiary of two life insurance policies issued

 by American General on the life of Meyer Magid (the “Insured”). SUMF ¶¶ 1, 10. The first policy,

 Policy No. UM0033913L (the “13L Policy”), was issued on November 7, 2005 and has a defined

 “Maturity Date” of November 7, 2021. Id. ¶¶ 3, 16. The second policy, Policy No. UM0023684L

 (the “84L Policy”), was issued on February 2, 2006 and has a defined “Maturity Date” of February

 20, 2022. Id. ¶¶ 4, 16. Each Policy has a specified death benefit of $5,000,000.00. Id. ¶ 6. As




 3
   Citations for the facts asserted herein are to the Statement of Undisputed Material Facts
 (“SUMF”) attached hereto as Exhibit 1.

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 relevant here, the application for each Policy identified the Insured’s birthday as August 22, 1921,

 making the Insured 84 years old at the time of the applications. Id. ¶ 7.

        The Insured passed away on July 21, 2020. Id. ¶ 11. Securities Intermediary submitted a

 claim to American General on August 25, 2020 for the death benefit proceeds due under the

 Policies. Id. ¶ 12. On April 21, 2021, American General denied the claim. Id. ¶ 14. American

 General took the position the Insured’s age had been misstated on the policy applications and the

 Insured was actually 100 years old when he died (instead of 98). See id. ¶¶ 15-16 & Ex. H. On

 this basis, American General unilaterally changed the Maturity Date of each Policy to two years

 earlier and claimed the Policies had terminated before the Insured’s death. See id. Ex. H. Thus,

 American General paid only the “cash surrender value” of each Policy and not the death benefit

 amount. Id. ¶ 15 & Ex.H. American General then initiated this lawsuit seeking, among other

 things, a declaration it satisfied its payment obligation under the Policies.

                                PROCEDURAL BACKGROUND

        A.      The Pleadings

        American General’s operative First Amended Complaint (the “Complaint”) asserts five

 counts: Count I seeks a declaration that American General can modify the Maturity Dates to

 correspond with the true date the Insured attained 100 years, which in turn would allow American

 General to pay only the cash surrender value of the Policies. D.E. 26 at 7-8. Count II seeks a

 declaration that the misstatement-of-age provision in each Policy results in an adjusted death

 benefit amount of zero. Id. at 8-9. Count III seeks a declaration that Section 7702 of the Internal

 Revenue Code requires American General to modify the Maturity Dates. Id. at 10-11. Count IV

 asserts a claim for reformation of the Maturity Dates based on mutual or unilateral mistake of the

 Insured’s age. Id. at 11. Count V asserts a claim for fraud in the presentment, alleging that




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 Securities Intermediary presented a “false” driver’s license to American General as part of the

 claim for death benefits. Id. at 12.

        In response to the Complaint, Securities Intermediary filed a Counterclaim with two counts

 for breach of contract—Count I for breach of the 13L Policy and Count II for breach of the 84L

 Policy. D.E. 27 at 25-27. The breach-of-contract claims allege that if the Insured’s age was

 misstated on the applications, American General was required to pay an adjusted amount of Death

 Benefit Proceeds as provided for in the misstatement-of-age provision of the Policies. See id.

        B.      Court’s Grant of Partial Judgment on the Pleadings

        On November 17, 2023, American General moved for partial judgment on the pleadings

 on Counts I through IV of the Complaint. D.E. 36, 37. On June 13, 2024, the Court granted the

 motion in part, entering judgment for Securities Intermediary on Counts I and IV. 4 D.E. 47. The

 Court’s rulings on Count I is relevant to this Motion.

        With respect to Count I of the Complaint, the Court found: “The Maturity Dates of each of

 the Policies…are clearly stated as November 7, 2021 and February 20, 2022, respectively. . . .

 [T]he Policies explicitly hold that the death [benefit] amount, not the Maturity Date, will be

 adjusted in the case that a mistake in the Insured’s age is discovered.” D.E. 47 at 5. The Court

 further explained that “absent modifications required by applicable law to continue treatment of

 the Policies as life insurance, the Policies do not permit Plaintiff to amend or correct the agreed-




 4
   The remaining claims in the Complaint are: Count II, which seeks a declaration that application
 of the misstatement-of-age provision results in an adjusted death benefit amount of zero; Count
 III, which seeks a declaration that American General was allowed to modify the Maturity Dates of
 the Policies under the Policies’ “reservation of rights” provision because Section 7702 of the
 Internal Revenue Code requires the Policies’ Maturity Dates to be the date the Insured attained age
 100; and Count V, which asserts a claim for “fraud in the presentment” based on Securities
 Intermediary’s submission of the Insured’s driver’s license showing his year of birth to be 1921.
 See D.E. 26.

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 upon Maturity Dates,” even if the Insured was 100 years or older on the date of death. Id. at 6.

 The Court concluded, therefore, “there can be no dispute that the Insured died prior to the Maturity

 Date” and thus that American General “is obligated to pay the Death Benefit Proceeds according

 to the terms of the Misstatement of Age Provisions.” Id. at 6-7 (emphasis added).

                                     STANDARD OF REVIEW

         Federal Rule of Civil Procedure 56(a) provides that summary judgment should be granted

 “if the movant shows that there is no genuine dispute as to any material fact and the movant is

 entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The moving party bears the initial

 burden to demonstrate the absence of genuine issues of material fact. Bickling v. Kent Gen. Hosp.,

 Inc., 872 F. Supp. 1299, 1304 (D. Del. 1994). If the movant meets her initial burden, then the non-

 moving party must “counter with evidence that demonstrates a genuine issue of material fact.” Id.

 The non-moving party “must present more than just ‘bare assertions, conclusory allegations or

 suspicions’ to show the existence of a genuine issue.” Podobnik v. U.S. Postal Serv., 409 F.3d

 584, 594 (3d Cir. 2005).

         Where a case involves “no more than legal interpretation of an insurance policy, and most

 of the questions raised are legal, rather than factual in nature, . . . summary judgment is particularly

 appropriate.” Continental Ins. Co. v. Bodie, 682 F.2d 436, 439 (3d Cir.1982).

                                             ARGUMENT

 I.      AMERICAN GENERAL FAILED TO COMPLY WITH THE MISSTATEMENT-
         OF-AGE PROVISION AND THUS BREACHED THE POLICIES.

         Securities Intermediary is entitled to partial summary judgment as to liability on Counts I

 and II of the Counterclaim because it is undisputed that (1) the misstatement-of-age provision

 applies and (2) American General did not pay the adjusted death benefit amount resulting from the




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 formula in the misstatement-of-age provision, instead paying only the cash surrender value of each

 Policy.

           A.      New Jersey law mandates a misstatement-of-age provision that requires an
                   insurer to pay an adjusted death benefit if the insured’s age was misstated.

           The Policies are governed by New Jersey law. As a preliminary matter, New Jersey law

 requires all life insurance policies contain a provision explaining what the insurer must pay under

 a policy, as a matter of New Jersey law, if the age of the insured has been misstated. See N.J.S.A.

 17B:25-6. Specifically, section 17B:25-6 provides:

           There shall be a provision that if the age of the insured . . . has been misstated, any
           amount payable or benefit accruing under the policy shall be such as the premium
           would have purchased at the correct age or ages.

 (emphasis added). Thus, New Jersey law does not permit an insurer to refuse to pay death benefits

 in the event of a misstatement of age. Rather, New Jersey law requires the insurer to pay death

 benefits in an adjusted amount that reflects what the premiums paid would have purchased at the

 correct age. See id.

           B.      Consistent with New Jersey law, American General included a provision in the
                   Policies that requires it to pay an adjusted death benefit amount in the event
                   of a misstatement of age.

           In compliance with New Jersey law, the Policies contain a misstatement-of-age provision.

 SUMF ¶ 18. The provision states in pertinent part:

           If the . . . age of the insured . . . has been misstated to Us, We will adjust the excess
           of the Death Benefit Amount over the Accumulation Value on the date of death to
           that which would have been purchased by the Monthly Deduction for the policy
           month of death at the correct cost of insurance rate.

 Id. (emphasis added). Here, the terms of the misstatement-of-age provision clearly apply based

 on American General’s position there has been a misstatement of age.5 Id. ¶¶ 14, 18. Indeed,



 5
     As previously stated, for purposes of this Motion, Securities Intermediary assumes the age of the

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 consistent with this, the Court has already determined American General is “obligated under each

 [P]olicy to pay the Death Benefit Proceeds according to the terms of the Misstatement of Age

 provisions.” D.E. 47 at 7 (emphasis added); see also id. at 8 (“the Court agrees with Defendant

 that Plaintiff must calculate the adjusted death benefit for each Policy according to the terms of

 the Misstatement of Age provisions…”).

        C.      In determining the adjusted death benefit amount, and as already ordered by
                the Court, American General must follow the formula set forth in the
                provision, which results in at least $ 3.9 million for each Policy.

        The misstatement-of-age provision sets forth the precise formula American General must

 follow to determine the amount of adjusted death benefits. SUMF ¶ 20. Consistent with New

 Jersey law, it requires American General to “adjust” the Death Benefit Amount “to that which

 would have been purchased by the Monthly Deduction for the policy month of death at the correct

 cost of insurance rate.” Id. ¶ 21. In other words, the adjusted death benefit amount (the amount

 American General must pay) is equal to the death benefits the Insured would have purchased with

 the Monthly Deduction amount in July 2020 if he were 86 years old. See id. ¶¶ 21-26 & Declaration

 of Scott Willkomm. Applying this formula—which the Court has already determined American

 General must do, see D.E. 47 at 7, 8—indisputably results in an adjusted death benefit amount

 that is at least $ 3.9 million for each Policy. SUMF ¶¶ 27–28 & Declaration of Scott Willkomm.

        But American General has refused to pay the adjusted death benefit amount as required by

 New Jersy law and the Policies. To add insult to injury, and in bad faith, American General has

 refused to even calculate the adjust death benefit amount it is required to calculate (and pay) under

 New Jersey law and the Policies. American General has clearly breached the Policies.




 Insured was misstated.

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 II.    SECTION 7702 OF THE INTERNAL REVENUE CODE DOES NOT PERMIT—
        MUCH LESS REQUIRE—AMERICAN GENERAL TO CHANGE THE
        MATURITY DATE AND THEREBY TERMINATE THE POLICIES.

        To try to avoid application of the misstatement-of-age provision (and in turn, a finding that

 it breached the Policies), American General relies on Section 7702 of the Internal Revenue Code

 (“Section 7702”).    American General claims that Section 7702 requires it to change the

 contractually-defined Maturity Dates to the date the Insured attained 100 years of age, such that

 the Policies terminated at that time. But, as a matter of law, Section 7702 has nothing to do with

 the validity of the Policies or with American General’s contractual obligations under the Policies,

 and it certainly does not require American General to terminate the Policies when the Insured

 attains 100 years.

        A.      Section 7702 affects only the tax treatment of life insurance policies.

        Section 7702 defines what the federal government considers to be a “life

 insurance contract” for purposes of federal income taxation. Webber v. Comm'r, 144 T.C. 324,

 371 (2015) (“In 1984 Congress created a statutory definition of the term ‘life insurance contract’

 for Federal income tax purposes.”) (emphasis added). It is used to determine how the proceeds the

 policy generates are taxed.    See Robert D. Colvin, Rev. Rul. 2005-6—Section 7702 Issue,

 VMF0616 ALI-ABA 383, 386 (2005). The proceeds of policies not meeting the government's

 definition are taxable as ordinary income, while proceeds from policies that do meet the definition

 are tax-advantaged. See id. (“A contract must meet the statutory definition of ‘life insurance

 contract’ contained in Section 7702 for increases in its cash values to escape current income

 taxation and for death benefits to be receivable totally without federal income tax liability.”)

 (emphasis added); see also Brown v. C.I.R, 101 T.C.M. (CCH) 1374 (T.C. 2011), aff'd sub nom.

 Brown v. Comm'r, 693 F.3d 765 (7th Cir. 2012) (citing 26 U.S.C. 101(a)(1)) ("Any amounts




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 received under a life insurance contract that were paid because of the death of the insured are

 excludable from the gross income of the recipient; that is, they are not taxable.")

         For a life insurance policy to meet the definition in Section 7702 and receive favorable tax

 treatment, the policy must satisfy one of two tests: either the “cash value accumulation test”

 (CVAT) or both the “guideline premium” and “cash value corridor” test (GPCT). 26 U.S.C.

 § 7702(a); see also Webber, 144 T.C. at 371. The statute defines all of these terms, and Section

 7702(e) provides “Computational rules” for performing the required actuarial calculations under

 the two tests (which are necessarily complex in order to limit attempts to “game the system” to

 include investment-oriented policies under the definition). Zaritsky & Leimberg: Tax Planning

 with Life Insurance, ¶ 4.01; see also 1984 General Explanation, note 80, at 652 (“By prescribing

 computation assumptions for purposes of the definitional limitations, Congress limited the

 investment orientation of contracts while avoiding the regulation of the actual terms of insurance

 contracts.”) .

         As relevant here, one of the four “computational rules” applied when performing these tests

 is that “for purposes of this section [i.e., Section 7702]… the maturity date…shall be deemed to

 be no earlier than the day on which the insured attains age 95, and no later than the day on which

 the insured attains age 100…” § 7702(e)(1)(B). In other words, for purposes of determining

 whether a policy passes the CVAT or GPCT tests, section (e) assumes (deems) the maturity date

 falls within a certain age range (age 95 to age 100), notwithstanding a different contractual maturity

 date. Id. (emphasis added); see also 1984 General Explanation, note 80, at 652 (“[I]rrespective of

 the maturity date actually set forth in the contract, the maturity date . . . is deemed to be no earlier

 than the day on which the insured attains age 95 and no later than the day on which the insured

 attains age 100.”) (emphasis added).



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        So if the contractual maturity date is between 95 and 100 years old, the contractual date is

 used. But if the contractual maturity date is less than 95 years old, then a maturity date of 95 years

 old is used, and if the contractual maturity date is 101 years old or more, then a maturity date of

 100 years old is used. See Andrew Pike, Reflections on the Meaning of Life: An Analysis of Section

 7702 and the Taxation of Cash Value Life Insurance, 43 N.Y.U. Tax. L. Rev. 491, 543, 548 (1988)

 (citing § 7702(e)(2)(B)) (“Where the [life insurance] contract contains an earlier maturity date

 [than age 95], the tax net single premium and the guideline premiums are computed on the fiction

 that the maturity date occurs when the insured reaches age 95. Use of this fictional maturity date

 reduces the tax net single premium and the guideline premiums.”) (emphasis added); see also 1984

 General Explanation, note 80, at 652 (“By prescribing computation assumptions for purposes of

 the definitional limitations, Congress limited the investment orientation of contracts while

 avoiding the regulation of the actual terms of insurance contracts.”).

        The assumption of a maturity date under Section 7702 for purposes of performing the

 calculations for federal tax purposes has no effect on whether the policy is a valid and enforceable

 “life insurance contract” as a matter of law—and American General knows this. It is simply a

 variable that gets plugged into the equations for CVAT and GPCT tests. See 1984 General

 Explanation, note 80, at 651; see also Pike, Reflections on the Meaning of Life at 543, 548 (the

 purpose of the assumption is to limit “the extent to which use of certain actuarial assumptions will

 increase the investment orientation by establishing an early (or late) maturity date for the

 contract”).

        If a life insurance policy does not satisfy either of the two tests under Section 7702, the

 policy simply loses specific tax benefits but still continues to be treated as a valid and enforceable

 insurance contract. See 26 U.S.C. § 7702(g)(3) (“Contract continues to be treated as insurance



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 contract.”). Specifically, if a life insurance policy does not satisfy either of the two tests, (1) the

 gains in the cash values of the policy would be taxable to the policy owner, see Colvin, Rev. Rul.

 2005-6—Section 7702 Issue, VMF0616 ALI-ABA at 386, and (2) the death benefits paid to the

 beneficiary on the insured’s death become partially taxable, id;. see also In re Tyler, No. 03-13597-

 JMD, 2004 WL 903826, at *2 (Bankr. D.N.H. Apr. 21, 2004) (“Death benefit proceeds are

 generally not taxable to anyone, so long as the policy qualifies as a life insurance policy under the

 IRC.”). Again, as a life insurance company, there is no question that American General is well

 aware and versed on Section 7702 and its inapplicability to the validity and enforcement of life

 insurance policies.6

        B.      Because Section 7702 does not require a change to the Policies’ Maturity Dates,
                American General cannot modify the Policies.

        The “Reservation of Rights” provision in the Policies provides:

        Upon notice to You, this policy may be modified by Us, but only if such
        modification is necessary to make any changes as required by the Internal Revenue
        Code or by any other applicable law, regulation or interpretation in order to
        continue treatment of this policy as life insurance.

 SUMF ¶ 20 (emphasis added). Based on the plain language of this provision, American General

 can modify the Policies only if the change is “required” by the Internal Revenue Code or other

 applicable law to continue treatment of the Policies as life insurance. Id.; see also Flomerfelt v.

 Cardiello, 997 A.2d 991, 996 (N.J. 2010) (explaining that clear terms of policies must be enforced

 as written). Although American General claims that Section 7702(e)(1)(B) requires a change in




 6
   The absurdity of American General’s position is highlighted when one considers that the purpose
 of section 7702 is to benefit the beneficiary by affording it favorable tax advantaged treatment on
 the payment of death benefits. In other words, section 7702 actually presumes death benefits will
 be paid. In addition, if section 7702 is met, the beneficiary is able to keep more of the death
 benefits proceeds because less must be paid in taxes. In direct contravention of this, American
 General is using section 7702 to try to terminate the Policies and not pay any death benefits.

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 the Policies’ Maturity Dates, this is incorrect as a matter of law, as explained above. Tellingly,

 American General’s expert, Jim Toole, admits that section 7702 does not preclude an insurance

 carrier from issuing policies that mature past 100 years of age. Expert Report of Jim Toole at ¶

 74 (“[a]lthough the [Internal Revenue] [C]ode does not explicitly preclude an insurer from

 charging for mortality beyond age 100, . . . “) (emphasis added).

        Put simply, American General’s position is frivolous. Insurance carriers are well aware

 that the sole purpose of Section 7702 it to set forth the criteria for a policy to receive favorable tax

 treatment. Section 7702 does not require a change in the contractual Maturity Dates in order for

 the Policies to continue to be treated as valid life insurance policies. As such, American General

 cannot make any modification to the Policies under the Reservation of Rights provision.

                                           CONCLUSION

        For the foregoing reasons, the Court should enter partial summary judgment in favor of the

 Securities Intermediary on Counts I and II of the Counterclaim.




 Dated: April 11, 2025                                  K&L GATES LLP

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